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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA                                                  PLAINTIFF

Vs.                           CASE NO. 4:05cr00320-07 JMM

JAMES BRANSCUM                                                          DEFENDANT


                                       ORDER


        A hearing on the United States’ motion to modify bond (docket entry #173) is

scheduled for Thursday, April 27, 2006, at 9:00 a.m. before Judge James M. Moody,

United States Courthouse, 600 West Capitol, Room 389, Little Rock, Arkansas.

        The defendant is directed to report to the United States Probation Office no

later than thirty (30) minutes prior to the hearing.

        IT IS SO ORDERED this 25th day of April, 2006.




                                         UNITED STATES DISTRICT JUDGE
